            Case: 1:14-cv-07441 Document #: 14 Filed: 11/13/14 Page 1 of 14 PageID #:35



                                                                     DOCUMENT#I PAGE I OF

                             UNTIED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS EASTERN DIYISION

          Claimant/ Petitioner
                                     FILHru                       CASE # 14cv7441 CLAIM

                 Anthony Szach           \l- t3 -
                                         t-l                       Declaratory judgment and record
                                        NOV t3 2ol4
                                                    dl
                     V                                            Government exceeded its jurisdiction
                                     THOMAE G, B!: i.]14N
         Respondants/ defendantgLEru( u'9' DlerRlol
                                                       LsdRT criminaU civil charges

                                                                   Ylc_ritre I I sec.2{ \2q2,
    The VILLAGE OF LINDENHURST [a mucicipal
    Corporationl police Ofc. John Fisher, Qfc. Ralph
    Goar, chief Kevin Klahs, village trustees Dominic
                                                                   lq5l,
    Marturano, village mayor Susan Lahr, Deputy clerk              amount demanded $ 86,000.
    Vicki Vanslochtereq treasurer Art Neubauer, Admin-
    Istrator Matt Formica, District attorney Brett Henne,
    NINETEENTH JUDICTAL CIRCUIT COURT OF
    LAKE COLINTY Hon. Judge Helen Rosenberg,                       FILE ON DEMAND
    Public defender Elizabeth Schroeder, States attorney
    Mchael Nerheim, court reporter Barbara Franger,
    ILLINOIS SECRETARY OF STATE DMV Jesse                           REMOVAL AMENDED
    White, ILLINOIS ATTORNEY GENERAL
-   LisaMadigan.

                                     INTRODUCTION

    This amended writ is to substitute the original complaint, which may not have satisfied the format of the

    Federal court rules. Anthony Szach, one of the people, a sovereign citizen of the United States of

    America, appearing as natural human being [am-jure] regardless of deemed and artfully plead, this writ

    Must be held to a less stringent standard than formally drafted pleadings of Bar Association attorneys,

    And can only be dismissed for failure to state a claim that shows no controversy of law or failure to

    Show unlawful acts committed by respondants in this matter.




    I Anthony Stach, solemly swear under oath and perjury, that the statements made hereto are to the best

    of my knowledge. I hereby indemni! the judge in this matter for his or her decisions that are made on

    Behalf of Anthony Szach in this court will not harm the public or public properly in any way.
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                            JURISDICTION AND VEI\ruE

1. This court has jurisdiction of these actions pursuant to 28 USC Sec. 1331, 1343, atd1367.
2. Venue is proper under 28 USC Sec. 1391[b]. A11 parties reside in this judicial district, and the
   Events grving rise to the claims in this removal [complaint] occurred in this district.

                                          PARTIE,S

3. Anthony Szach, the claimant is a forty four years old, domiciled in Gurnee, Illinois for around
   Eighteen years and is an automobile mechanic as his profession, and hereto will refer to

   Anthony Szach the claimant as SZACH.

4. The VILLAGE OF LINDENHURST is a municipal corporation and is the town where the events
   And or actions occurred, and is duly incorporated under the laws of the State of Illinois, and is or

   Was the employer and principal of its village police officers.

5. Lindenhurst police Ofc. John Fisher hereto will refer to as FISIIER is or was an employee of
   Defendant village Lindenhurst police department hereto will refer to as LPD, and was under color

   Of law on or around the date of January 4,2013 which was when the events or actions occurred.

6. LPD Ofc. Ralph Goar hereto will refer to as GOAR, is or was an employee of defendant village
   LPD and under color oflaw on the date the events or actions occurred.

7. LPD chief Kevin Klahs hereto will refer to as KLAHS, is or was an employee of defendant village
   And under color of law on the date the events or actions occurred.

8. Defendant village trustee, Dominic Marturano hereto, will refer to as MARTTIRANO is or was an
   Employee of defendant village and under color of law on the date the events or actions occurred.

g. Defendant village mayor Susan Lahr, hereto will refer to as LAHR, is or was an employee of
   Defendant village and under color of law on the date the events or actions occurred.
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10. Defendant deputy clerk, Vicki Vanslochteren hereto will refer to as VANSLOCHTEREN is or was

    An employee of defendant village and under color of law on the date the events occurred.

11. Defendant treasurer Art Neubauer hereto will refer to as NEUBATIE& is or was an employee of

    Defendant village and under color of law on the date the events or actions occurred.

12. Defendant administrator, Maff Formica hereto will refer to as FORMICA is or was an employee of

    Defendant village and under color of law on the date the events or actions occurred.

13. Defendant district attorney Brett Henne hereto will refer to as FIENNE is or was an employee of

    Defendant village and under color of law on the date the events or actions occurred.

14. Defendant , Judge Helen Rozenberg of the nineteenth Judicial circuit court of Lake County, hereto

    Will refer to as ROSENBERG, is or was the employed for the Lake County court and duly incorp-

   - orated under the laws of the State of Illinois, and at all relevant times is or was acting within the

    Scope of her employment and under color of law on the dates the events or actions occurred.

15. Defendant Michael Nerheim, hereto will refer to as NERFIEIM is or was the State attorney of the

    Lake County Nineteenth Judicial Court and duly incorporated under the laws of the State of Illinois,

    And at all relevant times is or was acting within the scope of his employment and under color of

    Law on the dates the actions occurred.

16. Defendant Barbara Franger, hereto will refer to as FRANGER is or was the court reporter for the

   Nineteenth Judicial Circuit Court of Lake county, and duly incorporated under the State of Illinois,

    And at all relevant times is or was acting within the scope of her employment and under color of

   Law on the dates the events or actions occurred with SZACH in the courffoom where she was

   Employed as the court reporter.
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17.    Defendant Lisa Madigan hereto will refer to as MADIGAN is or was employed as the State of

       Illinois Attorney General and duly incorporated under the laws of the state of lllinois, and at all

       Relevant times is or was acting within the scope of her emplonment on the dates the events

       Occurred.

18.    Defendant Elizabeth Schroeder hereto will refer to as SCHROEDER is or was employed for the

       Nineteenth judicial circuit court of Lake County as a public defender, and duly incorporated under

       The laws of the State of Illinois, and at all relevant times is or was acting within the scope of her

       Employment and under color of law on the dates the events occurred.

19.     SEC RETARY OF STATE Jesse White hereto will refer to as WHITE is or was employed

        for the Illinois Secretary of State D.M.V. and duly incorporated under the laws of the state

       Of Illinois, and at all relevant times is or was acting within the scope of his employment and under

       Color of law on the dates the events occurred, and actions that continue by him and or the

        SECRETARY OF STATE D.M.V.

                                     FACTS/ EVENTS

20. On or around the date of January 4,2013 and the time 9: 30 PM SZACH was unlawfully stopped

      While using automobile travel eastbound on Rt. 132Ln Lindenhurst Il. By defendant FISIIER of

      LPD who was tailing him in his municipal vehicle. FISIIER used his police vehicle emergency

      Lights when there was no emergency, and knowing of no crime committed or about to be commit-

      -ted, as FISIIER with criminal intent, malice, and reckless indifference to SZACH'S rights had

      Under pretense and color of law, used reasons of the Illinois Vehicle code which is a policy the

      LPD has adopted to use under their employment.
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21. After SZACH was stopped, defendant FISFIER after demanding driver license from SZACH, he

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    Out of his car and he asked FISHER for the reason for being stopped. FISFIER replied reasons of

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    You are ok to drive, and if you do not,I am going to take you to jail." SZACH being scared by the

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    had refused a breathalyzer test demanded by FISFIER as he ordered SZACH to put his hands behind

    His back and stated quote: ycu arc under arrest, or "5/cu are under arrest for D.U.I. Defendant

    GOAR had the opportunity to prevent unlawful conduct of his fellow officer and failed to do so.

)1 Defendant FISHER and or GO,AF. had searched SZACH'S automobile, and seized his autcmobile,

    Having it towed away without his consent or a warrant from the court underthe fifth amendment

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23. SZACH was kidnapped in the detention of the LPD by defendant FISIIER, who then verbally said
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    A felony and obstructing justice." SZAC-I{ had refused the terms demanded upon him.

24. tVhile in custody cf LPD, defendant FISI{ER had asked SZACH if he had three-hundred dollars
    ;To post baii, anciafter SZACH repiied 'no" another offlcer had went into SZaCH'S waiiet
                                                                                                                     and had

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25. The SECRETARY OF STATE office under the supervision of Jesse White as the chief officer duly

    lncorporated under the laws of the state of Illinois, had after receiving notice from LPD and or the

    NINETEENTH JUDICIAL CIRCUIT COURT of Lake County, of the citations LPD had issuedto

    SZACH without his consent, the SECRETARY OF STATE office with malice, and reckless indiffer

    -ence to SZACH'S rights had made a arbitary decision on or around the date February 20,2013

    issued a three year sunmary suspension of SZACH'S license without his consent or due process of

    Law under the fifth amendment of the United States of America.

26. Defendant ROZENBERG is or was the preciding associate judge on the date of May 15,2013 court-

    Room c-403 or c-402 where SZACH was ordered to appear by LPD under color of law. Defendant

    SCHROEDER was SZACH'S public defender and acted as his council and under color of law.

    Defendant ROZENBERG with MALICE and reckless indifference to SZACH'S rights had denied

    His motions to dismiss for violations of his first and fourth amendment rights secured by United

    States constitution committed by LPD, and her knowing of no cause of action brought forth by

    Defendant village prosecutor defendant FIENNE. ROZENBERG had the fiduciary duty to safeguard

    The liberties and or rights of citizens and deliberately failed to do so in her official capacity, and she

    With MALICE and RECKLESS indifference to SZACH'S inherent rights had denied him of the

   Removal of'the three year summary suspension of his class D driver license, because of her

   conspiracy with defendants ET AL with intent to fraud SZACH.

27. It is my[SZACH] belief under common law that defendant ROZENBERG acting in excess of her

   Judicial authority constitutes misconduct, as she deliberately disregarded the requirements of fair-

   -ness and due process under the fifth amendment of Llnited States constitution, as Supreme court

   Case law states [cannon v commission on judicial qualifications- 1975,14 Cal. 3d 678,694, Acts in

   Excess ofjudicial authority constitutes misconduct, pa.rticularly where a judge deliberately dis-

  -regards the requirements of fairness and due process.
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  28. Defendant SCHROEDER acted in collusion with defendants ET AL as SZACH'S public defender

      As she deceitfully did not give due process as her fiduciary duty under the laws of lllinois, when

      she x.ith Iv{ALICE and indifference to SZACH'S rights, had insisted that he accept a bench trial

      Rather than a jury trial, as SZACH strongly insisted, it is SZACH'S belief that his court case may

      Have been dismissed if SCFIROEDER acted !ar.,{ul in her capacity. After the convictions in ccurt

      SZACH had called on SCHROEDER to ask her about appealing his case and she deceptively said

      Quote;" 1 don't knol, we can try to file a motion to reconsiderjudgment." SZ,ACH had her file a

      Motion to reconsider, and when both had appeared in court with defendant ROSENBERG she had

      Denied the motion end in tum stated qucte; " I dcn't think ycu can appeal a traffic ticket"

                                   Declaratory judgment claim

21, The claimant re-alleges paragraphs 1 through 2? as if fully restated here.
30. grruuse the defendants ET AL causes of action under color of law, committed on SZACH, he
     Belie.,,es that he rvil! be arrested agein by defbndants ET.4L under pretense, criminal intent,

     And conspiracy if he tries to use vehicle travel as his inherent right, with or without a license, as he

     Has been afraid to do so since on or arcund February 20,2A1,3. Because of the actions executed by

     Defendants ET AL unlawfully, and SZACH not appealing his case in time because of the deceit of

     Defendants ROSEI.IBERG and SCHROEDER ET AL he has no remedy at larv but to file this

      Declaratory Judgment.
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                                                                  DOCUMENT#I PAGE 8 OF
                               cqi<# l{cv7,,tt
31. The claimant [SZACH] is an automobile mechanic as his profession and uses and needs a valid class
     -D driver license as a requirement by any employers to hire him for employrnent. Because of the

     Actions by defendants ET AL, SZACH has lost opportunity by automotive franchises/ shops, as

     Well as the the Right to Travel unemcumbered in his every day activities without being unlawfully

     Stopped by law enforcement agencies such as Defendant village and is another reason SZACH has

     Filed this Declaratory Judgment, and will be proven at trial.

 32. The court procedding that hadtaken place on May 15,nl3 in Lake County is null and void, in my

     Belief under common law as it is stated in case law, [Owens v City 445,U S 662 U980]

       " The state is prohibiteci from vioiating substantive rigirts"

  33. The above mentioned court proceeding had not proven jurisdiction and will be questioned and

     Proven at iriai. I Mrain v Tiriboutot 100 S. Ci.25Ai [i980] states ; "The iaw provicies that once

     State and Federal jurisdiction have been challenged, it must be proven.

                First amentiment right to Travei vioiationr Titie i8 conspiracy against rights

  34. The defendant parties operating in collusion with each other had acted on the all capital letter

     Fiction name Ai\iTHOi.iY SZACH, which is ciiverse from Anthony Szach the reai pariy in

     Interest who is a man, a nafural blood and flesh being whom did not consent to contracts, bonds,

     Fees, Driver license restriction, or other actions commiited by ciefendants who ail acted under

     Color of law.

  35. SZACH [Anthony Szach] is a man, and iras a right to engage in inherent rights secured by the

     Constitution of the United States of America, and with lawful excuse engage in those rights while

     ignoring uniawfrri statutes, codes, reguiations, impose<i by government.

  36. SZACH [Anthony Szach] was and is the sole beneficiary as he was not, and is not the legal fiction

     in which ali defen<iant parties had acted upon without the consent of Anthony Szach [SZACH].

     SZACH [Anthony Szach] is entitled to any funds, bonds, attached to SZACH [Anthony Szach].
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                                       CaS€ #lLtcvlLtLil DocuMENr#r PAGE e oF
             Claimant unlawfully charged and maliciously prosecuted for traffic citations

 37. SZACH [Anthony Szach] denies that defendant parties, agencies, corporations, or entities has any

        fught to any account, property, or to impose any duties of SZACH [Anthony Szach] and defendants

        Have no proof of lawful contracts or lawful claim with SZACH [Anthony Szach]. The defendant

        Parties are barred from imposing unlawfi.rl regulations, acts, codes, or statutes such as Illinois

        vehicle code, Highway traffic Act, which contravenes Illinois State constitution law and federal

        Constitution law. If this court fails to enjoin ALL defendants from imposing unlawful actions as

        Stated above and hereto, the defendants ET AL will continue to commit the crimes against SZACH

        And other citizens creating substantive economic damages and burdens to all citizens and the

        Federal government because of unlawful regulations created by state government agencies.

                   COUNT I USC Sec 1912 First Amendment Rieht to travel Claim

 38     Claimant SZACH re-alleges paragraphs 1- 37 as if fully restated here.

 39. It is my belief under common law that Because defendant FISHER stopped SZACH under pretense,

        he had violated his first amendment constitution right to be secure in his person and his inherent

        right to conveyance by automobile.

                          COUNT tr 720ILCS 1961 Art.26 Disorderlv Conduct

 40. It is my belief under common law that Defendant FISIIER actedin unreasonable manner when he

        alarmed and disturbed SZACH and or the public by using his emergency lights in order to make a

       traflic stop and in turn provoking breach ofthe peace.



                      COUNT III UCS 1951[al Interference with commerce Claim

41   . It is my belief under common law that defendant FISI{ER violated USC 195 I as he ignored his fiduc-
      -ciary duty under state of Illinois law to safeguard the right to travel by SZACH in his automobile.
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                                                                                                  DOCUMENT # 1 PAGE 10 OF
                                             CaSe#11cv119 I
41. Also FISIER lrad threatened to incarcerate SZACH by detention in the LPD by force under color

    Of law if he did not comply with FISHER when he demanded SZACH step out of his automobile

    For his reason tc raoketeer SZACFI later in ccnspiracy t"'ith ET AL,

42. ltis my belief mder common law that defendant RCZENIIBERG violated IJSC 1951 as she ignored

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4-?. lt is in my belief under coiiiinon law that defendant \YHITE r.-*ile being the chief cfficial cf the

    Illincis SECP.ET.^,RY OF ST^,TE cffice, violated USC 1951 because his office had a Cuty tc up-

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                     COUNT V USC Sec.2236 Search without Warrant Title 18 Claim

45. It is my belief under common law that defendants FISHER and GOAR violated USC Sec. 2236

      And violating SZACH'S fourth amendment constitutional right by searching his automobile while

      No crime was committed without fifth amendment due process, and without SZACH'S consent.

                     COUNT YI USC Sec. 2112 Personal Pronerfy Robberv Title 18 Claim

46.   It is my belief under common law that defendants FISHER and GOAR violated USC Sec. 2112

      When they seized his automobile by having it towed by a towing company when no crime has been

      Committed,and without his consent or a warrant from the court.

                     COUNT YII 720ILCS 5/18 [bll Ageravated Robberv Title 18 Claim

47. It is my belief under common law that aggravated robbery occurred to SZACH by a alias LPD

      Officer and defendant FISFIER was an accomplice to the act in which occurred in the LPD when

      The alias had taken one hundred dollars American currency from SZACH while he was detained.

                    COUNT VIII USC Sec.241 Conspiracv asainst riehts Title 18 Claim

48. The claimant SZACH re-alleges paragraphs l-47 as if fully restated here.

49. It is my belief under common law that ALL defendants ET AL have violated USC Sec. 241 as in

      My belief defendant WHITE while incorporated under the laws of the state of Illinois acts under

      Color of law and under pretense in collusion with ALL village municipalities police deparftnents

      ln the state of Illinois, whom make traffic stops of citizens[as in this maffer] in order to unlawfully

      Recketteer citizens as Defendant WHITES ofiice immediately suspended the license of SZACH

      Without procedural due process as required under the fifth amendment of the constitution of the

      United States of America.Defendant ROZENBERG conspired with defendant WHITE'S office

      While in her official capacity as she deliberately ignored the laws of the state of Illinois that she

      Is or was incorporated under as she pursued malicious prosecution in collusion with defendant

      Henne the village prosecutor, while both knew of no cause of action to prosecute.
          Case: 1:14-cv-07441 Document #: 14 Filed: 11/13/14 Page 12 of 14 PageID #:46


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49. Defendant NERHEIM is or was the state attorney of Lake County Nineteenth circuit court and

      Deliberately permitted prosecution of 'SZeCg'S case matter while being in collusion with defend-

      -ants FIENNE and ROZENBERG, with intent to racketeer SZACH of American culrency, and the

      Collusion of defendants ET AL will be proven at trial.I Spreckles v. Graham ]: Courts are not at

      Liberty to extend application of law to subjects not included within it.

                 COUNT D( USC Sec. 2384 SEDITIONARY TREASON Title 18 Claim

50. The claimant SZACH re-alleges paragraphs 1- 49 as if fully restated here.

51.   It is my belief under common law that ALL defendants ET AL, by acting in conspiracy to oppose

      The authority of constitution laws while employed as govemment officials incorporated under the

      Laws ofthe state of Illinois, have committed seditionary treason.In my belief under common law

      Defendant village trains its police officers to oppose state constitutional rights of citizens and make

      Traffic stops with criminal intent of robbery, threat to interfere with commerce, and prevent free

      Enjoyment of rights of citizens including SZACH in this matter. Defendant Rozenberg opposed the

      Laws of Illinois constitutionbyhindering SZACH'S right to due process under the fifth amendment

      With reason to hinder his right to commerce of his driver license in order to racketeer him.Defend-

      -ant WHITE allowed fus oftice anci or employees to conspire with ciefenciants ET AL anci oppose

      The constitutional right of SZACH to use a driver license as their fiduciary duty under state law.

                    -I{ENNE
      Det'enciant             execute<i a maiicious prosecution against SZACH wiriie opposing constitution

      Laws of Illinois. Defendant Nerheim opposed the constitutional laws of Illinois and allowed the

      Maiicious prosecution of SZACH. Deienciant SC-I{ROEDER oppose<i the iaws ot the state of

      Illinois as she used her offrcial capacity to mislead SZACH to a bench trial intentionally in order to

      Conspire with ET Al to racketeer irim, and aii the criminai actions committeci hereto wiii be

      Proven at trial.
        Case: 1:14-cv-07441 Document #: 14 Filed: 11/13/14 Page 13 of 14 PageID #:47


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                                  COIINT X Unlawful Arrest Title 18 Claim

52. As more fully described above, defendant officers arrested SZACH without a warrant, probable

     cause, or any unlawful justification to do so in violation of SZACH'S rights under the fourth

     amendment of the United States constitution.

53. The misconduct described in the preceding paragraphs was undertaken according to the policy and

  Practice of defendant village. The defendant village officers ET AL are being sued in their individual

  Capacities for declaratory and injunctive relief.

54. On information in my belief under common law, defendant village tains and encourages its

  Officers under color of law to stop citizens from using automobile travel under fabricated pretense or

  Of the Illinois vehicle code, with willfulness and reckless indifference to peoples common law rights

  While ignoring first, fourth, and fifth amendment rights of citizens for their purposes for detaining

  And racketeering citizens in conspiracy, and under color of law.

55. In this way, defendant villages express or implied policy and or practice resulted in the violations of

  SZACH'S rights since it created the opportunity for defendant officers to commit the foregoing acts

  or violations of the United States constitution.

56. As a direct and proximate result of defendant villages policies, and practices, and the policies and

  Practices of SECRETARY OF STATE office under defendant WHITE supervising and or training,

  And the practices and or policies of defendants NERFIEM, Rozenberg, and SCHROEDER in their

  Official capacity, SZACH has suffered substantial psychological,economical, and emotional damages

 Which will be proven at tTiaI.WHEREFORE SZACH respectfi,rlly prays and requests judgment against

 defendant village, and ET AL, in a fair and just amount suffrcient to compensate him for injuries he has

suffered, plus costs and real damages, and the punative sentencing of prison time for ALL defendants

and all other relief this court finds just and equitable.

57. Illinois law provides that public entities, such as defendant village, ard directed to pay any
             Case: 1:14-cv-07441 Document #: 14 Filed: 11/13/14 Page 14 of 14 PageID #:48


                                                                               DOCUMENT # 1 PAGE 14 OF
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Compensatory damages on a tort judgment against any employees who was acting within the scope

Of his or her employment.

58. At all relevant times, defendant offrcers, were or are agents of defendant village, and acting within

The scope of their employment as Lindenhurst police officers. Defendant village rherefore, is liable as

Principal for all torts committed by defendant officers.

59. Defendant WHITE SECRETARY OF STATE is being sued in his official capacity for declaratory,

And prospective compensation relief and injunctive relief and any other reliefthis court may find jus

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injunctive relief.

51. Defbndant ROZEII]BF.RG iS being SUed in her indi.,,idggl nanonif'r fnr nrrmncac nf rlpnlsrrqtnnr qnrl

Prospective, relief and injunctive relief,

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Injunctive relief.

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injunctive relief. Government offrcials may be sued in their individual capacities; [Kentucky v. Graham

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